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               IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                         NO.    4:05CR00305-003 SWW

TIMOTHY SHANE BARTON




                                     ORDER
      Pursuant   to   order    by   this   Court    to   undergo    a   psychiatric

examination, the above-named defendant was directed by the United States

Marshal to appear on June 8, 2006, for transport to the designated

medical facility.     Defendant has filed a motion seeking an extension of

such date.    For good cause shown, the Court finds that the motion should

be granted.

      IT IS THEREFORE ORDERED that defendant’s motion is granted, and the

date he is to report is extended until 12:00 noon on June 22, 2006,at

which time, he shall report as directd.

       Dated this 6th day of June, 2006.



                                            /s/Susan Webber Wright




                                            UNITED STATES DISTRICT JUDGE
